      Case 8:04-cr-00235-DKC Document 1235 Filed 09/05/08 Page 1 of 3

                                                     Filed: September 5, 2008

                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT
                       1100 East Main Street, Suite 501
                         Richmond, Virginia 23219-3517
                              www.ca4.uscourts.gov

                      _______________________________

                      TRANSCRIPT ORDER ACKNOWLEDGMENT
                      _______________________________

No.   07-4115, et al, US v. LaVon Dobie
                      8:04-cr-00235-RWT

This Acknowledgment establishes a deadline for filing all transcript
ordered from this court reporter, as follows:

Court Reporter: Tracy Dunlap
Current Deadline: 10/14/2008
Proceedings: Jury Instructions (8/8/06 - 8/9/06); suppresson hearing
(1/23/06); charge conference (6/31/06)

If transcript has not been properly ordered or if appropriate financial
arrangements have not been made, the court reporter must complete and file
a Transcript Order Deficiency Notice with this Court within 7 calendar
days. If the court reporter has grounds for an extension of time, a
request for extension may be sought using the Transcript Extension Request
form.

This Court is notified of the filing of the Appeal Transcript in the
District Court through the District Court=s CM/ECF system. If the
transcript is not filed by the due date, a transcript sanction takes
effect, as provided in the Guidelines for Preparation of Appellate
Transcripts in the Fourth Circuit. If a transcript sanction is in effect,
the court reporter must file a Transcript Sanction Certification Form with
this Court at the time the transcript is filed with the District Court,
certifying that the appropriate sanction has been deducted from the
transcript fee.

Court forms are available for completion as links from this notice and at
the Court's web site, www.ca4.uscourts.gov.

Sharon A. Wiley
Deputy Clerk
804-916-2704
        Case 8:04-cr-00235-DKC Document 1235 Filed 09/05/08 Page 2 of 3

                        UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT

                         TRANSCRIPT DEFICIENCY NOTICE

                   No. 07-4115, US v. LaVon Dobie
                                8:04-cr-00235-RWT

If there are problems with the Transcript Order or if the Court has not
yet approved preparation of transcript at government expense, the Court
Reporter should, within 7 days of receipt of the Transcript Order
Acknowledgment from the Court of Appeals, file the Deficiency Notice
form with the Court of Appeals and serve a copy on the party ordering
the transcript and the District Court Reporter Coordinator.


Court Reporter: Tracy Dunlap
Current Deadline: 10/14/2008
Extension Requested to:

[ ]   Transcript Order is sufficient, but Criminal Justice Act funds have
not been approved (CJA 24)

[ ]   Transcript Order is sufficient, but motion for transcript at
government expense has not been granted (28 U.S.C. § 753(f))

[ ]   Satisfactory financial arrangements have not been made.    Please
specify problem:

[ ]     Transcript order is unclear. Please specify problem:

[ ]     Transcript order has not been received (CJA 24)

[ ]   Transcript order was received after receipt of        Acknowledgment.
Please specify length of delay:

[ ]     Other (please specify):

Signature:

Date:
        Case 8:04-cr-00235-DKC Document 1235 Filed 09/05/08 Page 3 of 3

                        UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT

                         TRANSCRIPT EXTENSION REQUEST

                  No. 07-4115, US v. LaVon Dobie
                               8:04-cr-00235-RWT

If an extension of time is needed to complete the transcript, the court
reporter may file a Transcript Extension Request with the Court of
Appeals at least 10 days in advance of the deadline, setting forth
specific information in support of the request. Copies of the Request
shall be served on the parties to the case and the District Court
Reporter Coordinator. The granting of an extension also constitutes a
waiver of sanctions through the date of the extension.


Court Reporter: Tracy Dunlap
Current Deadline: 10/14/2008
Extension Requested to:

As of this date, approximately     pages have been completed and          pages
are yet to be transcribed. Justification is as follows:

  1. Outstanding District Court transcripts ordered within 90 days of
     this request: Any pending appellate transcripts will be taken into
     consideration in deciding this request.




  2. In-Court Time: (give total days/hours by month)




  3. Travel: (give hours spent traveling to and from Court by month)




  4. Other: (please provide any other information you would like the
     Court to consider when reviewing your request. Please be aware that
     this information will be posted on the public docket.)




Signature:

Date:
